Case 1:25-cv-22896-JEM Document 25-1 Entered on FLSD Docket 07/07/2025 Page 1of1

at! G2 (ED

é Kristi Noem ©
4dd-@

Alligator Alcatraz will be funded largely by
FEMA's Shelter and Services Program, which
the Biden administration used as a piggy bank
to spend hundreds of millions of American
taxpayer dollars to house illegal aliens,
including at the Roosevelt Hotel that served as
a Tren de Araqua base of operations and was
used to shelter Laken Riley's killer.

Before this program was used to house criminal
illegal aliens. Now, it is being used to detain
criminal illegal aliens while they await
deportation.

Comment as Eve Samples © @) ©

